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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                     NORTHERN DISTRICT OF CALIFORNIA

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                                         ELON MUSK, et al.,
                                   7                                                        Case No. 24-cv-04722-YGR (KAW)
                                                           Plaintiffs,
                                   8
                                                 v.                                         ORDER OF RECUSAL
                                   9
                                         SAMUEL ALTMAN, et al.,
                                  10
                                                           Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          This matter was referred to the undersigned for discovery matters. The court recuses itself

                                  15   from this matter.

                                  16          IT IS SO ORDERED.

                                  17   Dated: June 24, 2025

                                  18                                                   ______________________________________
                                                                                       KANDIS A. WESTMORE
                                  19                                                   United States Magistrate Judge
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